UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------- x
                                                                      :
In re:                                                                : Chapter 7
                                                                      :
KOSSOFF PLLC,                                                         : Case No. 21-10699 (DSJ)
                                                                      :
                                    Debtor.                           :
                                                                      :
--------------------------------------------------------------------- x
ALBERT TOGUT, Not Individually but Solely in His                      :
Capacity as Chapter 7 Trustee of the Estate of Kossoff :
PLLC,                                                                 :
                                                                      : Adv. Pro. No. 23-01080 (DSJ)
                                    Plaintiff,                        :
                                                                      :
                           v.                                         :
                                                                      :
BRUCE BARASKY,                                                        :
                                                                      :
                                    Defendant.                        :
--------------------------------------------------------------------- x

             ORDER DENYING DEFENDANT’S MOTION FOR AN ORDER
           STAYING DISCOVERY PENDING DISPOSITION OF MOTION TO
             DISMISS AND MOTION TO WITHDRAW THE REFERENCE

        Bruce Barasky, the defendant (“Defendant”) in the above-captioned adversary proceeding

(the “Adversary Proceeding”), having filed the Motion Staying Discovery Pending Disposition of

Motion to Dismiss and As Well As Stay Pending Adjudication of the Motion to Withdraw [Adv.

Proc. Docket No. 26] (the “Motion”); and Albert Togut, not individually but solely in his

capacity as the Chapter 7 trustee (“Trustee”) of the estate of Kossoff PLLC in the above-

captioned Chapter 7 case and the plaintiff in the Adversary Proceeding, having filed the Chapter

7 Trustee’s Memorandum of Law and Objection to Defendant’s Motion for an Order Staying

Discovery Pending Disposition of Motion to Dismiss and Stay Pending Adjudication of the

Motion to Withdraw [Adv. Proc. Docket No. 28] (the “Objection”) in response to the Motion;
and it appearing that the Court has jurisdiction to consider the Motion and relief requested

therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

M-431, dated January 31, 2012 (Preska, C.J.); and consideration of the Motion and the relief

requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

reviewed and considered the Motion and the Objection; and good and sufficient notice of the

Motion having been given to all parties entitled thereto; and a hearing to consider the Motion

having been held before the Court on February 7, 2024 (the “Hearing”); and upon the record

made during the Hearing, during which the Court heard the Trustee and Defendant, by their

respective attorneys, in connection with the Motion and the Objection; and after due deliberation,

and upon all prior pleadings and proceedings had herein;

         IT IS HEREBY ORDERED:

         1.    For the reasons set forth on the record made during the Hearing, which is

incorporated herein, the Motion is DENIED.

         2.    The terms and conditions of this Order shall be effective immediately upon its

entry.

         3.    This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation of this Order.



Dated: New York, New York
       February 13, 2024
                                                  s/ David S. Jones
                                               HONORABLE DAVID S. JONES
                                               UNITED STATES BANKRUPTCY JUDGE
